         Case 17-41278      Doc 34
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               UNITED STATES BANKRUPTCY COURT, DISTRICT OF MASSACHUSETTS
                              Proceeding Memorandum/Order of Court

In Re:                                        Case Number:                       Ch:

MOVANT/APPLICANT/PARTIES:




OUTCOME:
_____Granted_____Denied_____Approved_____Sustained
_____Denied_____Denied without prejudice_____Withdrawn in open court_____Overruled
_____OSC enforced/released
_____Continued to:__________________________For:______________________________________________
_____Formal order/stipulation to be submitted by:________________Date due:____________________
_____Findings and conclusions dictated at close of hearing incorporated by reference
_____Taken under advisement: Brief(s) due_______________________From______________________ ___
                             Response(s) due____________________From_________________ ________
_____Fees allowed in the amount of: $________________________Expenses of: $___________________
_____No appearance/response by:_______________________________________________________________
_____DECISION SET OUT MORE FULLY BY COURT AS FOLLOWS:




IT IS SO NOTED:                               IT IS SO ORDERED:


______________________                        _______________________________Dated:__________
Courtroom Deputy
